                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


JUSTIN JADE COLLINS,

               Plaintiff,

               v.                                             CASE NO. 23-3085-JWL

MELISSA WALDOCK, et al.,

               Defendants.


                                       SERVICE ORDER

       This matter is a civil rights action filed by a prisoner in the custody of the Secretary of the

Kansas Department of Corrections (“KDOC”). The Court has conducted a preliminary review of

the Complaint and finds a responsive pleading is necessary.

       IT IS ORDERED that:

       The Clerk of the Court shall notify the Kansas Attorney General (“AG”) and the KDOC of

this Service Order. The Court requests that Defendants waive formal service of process.

       The AG and/or the KDOC shall have thirty (30) days from entry of this Service Order to file

a Waiver of Service Executed and/or a Waiver of Service Unexecuted. Upon the electronic filing

of the Waiver of Service Executed, Defendants shall have sixty (60) days to prepare a report

pursuant to Martinez v. Aaron, 570 F.2d 317 (10th Cir. 1978). Upon the filing of that report, the

Court will screen Plaintiff’s Complaint and will enter an order setting an answer deadline if the

Complaint survives screening. Any answer deadline set forth in the docket entry for the waiver of

service is not controlling.

       In those cases where a Waiver of Service Unexecuted is filed, the KDOC shall have ten (10)

days from the filing of the Waiver of Service Unexecuted, to supply the Clerk of Court with the last

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known forwarding addresses for former employees, said addresses to be placed under seal and used

only for the purpose of attempting to effect service of process. The KDOC shall use the event

“SEALED Notice of Last Known Addresses of KDOC Employees” to submit the sealed addresses

to the Court.

       Copies of this Service Order shall be transmitted to the AG and the KDOC.

       IT IS SO ORDERED.

       Dated April 3, 2023, at Kansas City, Kansas.

                                           S/ John W. Lungstrum
                                           JOHN W. LUNGSTRUM
                                           UNITED STATES DISTRICT JUDGE




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